           Case
            Case7:15-cv-00082-HL Document
                 7:15-tc-05000 Document 28 1 Filed
                                              Filed05/15/15
                                                    05/15/15 Page
                                                              Page1 1ofof5 5



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION


DONNA O. MEYER, as Parent and Next *
Friend of KARL MITCHELL            *
THOMPSON, deceased,                *
                                   *
       Plaintiff,                  *
                                   *
                                                         7:15-CV-82
v.                                 * CIVIL ACTION NO. ___________
                                   *
PHILLIP HOWARD ELY, DAVIS          *
TRANSFER COMPANY, and AMERICAN*
INTER-FIDELITY EXCHANGE,           *
                                   *
       Defendants.                 *



                                NOTICE OF REMOVAL

      COME NOW Defendants Phillip Howard Ely, Davis Transfer Company, and

American Inter-Fidelity Exchange and files this, their Notice of Removal and respectfully

show the Court the following:

      1.      That the case of Donna O. Meyer, as Parent and Next Friend of Karl Mitchell

Thompson, deceased, v. Phillip Howard Ely, Davis Transfer Company, and American

Inter-Fidelity Exchange is presently pending in the State Court of Lowndes County, the

same being Civil Action Number: 2015 SCV 130.

      2.      This Court has jurisdiction in this matter on the basis of diversity of

citizenship of the parties pursuant to 28 U.S.C. §§ 1332 and 1441.

      3.      The amount in controversy in this matter exceeds the sum of $75,000.00,

exclusive of costs, interest and attorney's fees based upon the allegations of Plaintiff's
            Case
             Case7:15-cv-00082-HL
                  7:15-tc-05000 Document
                                  Document
                                         28 1 Filed
                                               Filed05/15/15
                                                     05/15/15 Page
                                                               Page2 2ofof5 5



Complaint. Despite the fact that the Plaintiff did not specifically include a monetary prayer

for relief exceeding $75,000, exclusive of interest and costs, in the Complaint, it is evident

from the face of the Complaint that the amount in controversy in this lawsuit exceeds

$75,000, excluding interest and costs. Friedman v. New York Life Ins. Co., 410 F.3d 1350,

1353 (11th Cir. 2005) (“Where the plaintiff has not plead a specific amount of damages [in

a state court complaint,] the defendant is required to show by a preponderance of the

evidence that the amount in controversy” can be satisfied.”)(citation omitted).

       4.      In this case arising out of an accident between a vehicle and a bicycle, the

Plaintiff's Complaint alleges that the Defendants are liable for the wrongful death of her

son, who was 28 years old at the time of his death. (Complaint, ¶¶ 1, 6, 7, 27). The Plaintiff

seeks damages for the full value of the Decedent's life. Id. at ¶ 27. Therefore, analyzing the

Complaint in a light most favorable to Plaintiff, while not admitting liability for any

amount, defense counsel represents to this Court that the amount of damages alleged to

be in controversy for Plaintiff will more likely than not exceed $75,000.00, exclusive of

interests and costs. See, e.g., Infinity Gen. Ins. Co. v. Reynolds, 570 F.3d 1228, 1230 (11th Cir.

2009) (affirming district court's determination that amount in controversy in insurance

coverage dispute regarding two wrongful death claims exceeded $75,000); Stegman v.

Horton Homes, Inc. 845 F. Supp. 1571, 1575 (M.D. Ga. 1994) (concluding that plaintiffs were

likely to recover more than the jurisdictional amount if they prevailed on wrongful death

claims); Angrignon v. KLI, Inc., No. 08-81218-CIV, 2009 WL 506954, at *4 (S.D. Fla. Feb. 27,

2009) (“Based on the unchallenged factual allegation that a life was lost, the Court has


                                               -2-
            Case
             Case7:15-cv-00082-HL
                  7:15-tc-05000 Document
                                  Document
                                         28 1 Filed
                                               Filed05/15/15
                                                     05/15/15 Page
                                                               Page3 3ofof5 5



engaged in a common sense evaluation of the types of damages that Plaintiff is seeking and

concludes Defendant has established by a preponderance of the evidence that the amount

in controversy is in excess of $75,000.”). Should any one of the defendants be held liable for

the death of Plaintiff’s Decedent, the "full value" of his life could certainly exceed $ 75,000,

exclusive of interest and costs, although the Defendants deny any liability in the instant

action. As shown, this case therefore satisfies the jurisdictional prerequisites of 28 U.S.C.

§ 1332.

       5.      There is complete diversity of citizenship in this action. Upon information

and belief, at the time of the filing of the Complaint, Plaintiff is a citizen and resident of the

State of New Mexico. (See Ex. “A”). Also upon information and belief, at the time of his

death, Decedent Karl Mitchell Thompson was a citizen and resident of the State of Florida.

Id. At the time of the filing of the Complaint, Defendant Phillip Howard Ely was a citizen

and resident of the State of Georgia; Defendant Davis Transfer Company was a corporation

incorporated under the laws of the State of Georgia with its principal place of business

located in Georgia; and American Inter-Fidelity Exchange was a corporation incorporated

under the laws of the State of Indiana with its principal place of business located in

Indiana. Thus, there is complete diversity of citizenship in this action

       6.      This notice is timely filed within 30 days from the date on which the

complaint was first served upon a defendant in the State Action, as Plaintiff's Complaint

was filed on April 14, 2015; Ely was served on April 16, 2015; American Inter-Fidelity

Exchange was served on April 29, 2015; and Davis Transfer Company has not yet been


                                               -3-
            Case
             Case7:15-cv-00082-HL
                  7:15-tc-05000 Document
                                  Document
                                         28 1 Filed
                                               Filed05/15/15
                                                     05/15/15 Page
                                                               Page4 4ofof5 5



served. This Notice of Removal has been timely filed within thirty (30) days of service of

the Plaintiff's Complaint. The state-court lawsuit was filed on April 14, 2015; thus, this

action is removed less than one year after commencement of the action.

       7.      Venue properly rests in the Valdosta Division of the United States District

Court for the Middle District of Georgia as this case is being removed from the State Court

of Lowndes County.

       8.      True and correct copy of all process, pleadings, discovery, and orders served

upon Defendant Phillip Howard Ely is attached hereto as Exhibit “B.” True and correct

copy of all process, pleadings, discovery, and orders served upon American Inter-Fidelity

Exchange is attached hereto as Exhibit “C.” Davis Transfer Company has not yet been

served.

       9.      Defendants Phillip Howard Ely, Davis Transfer Company, and American

Inter-Fidelity Exchange join in and consent to the removal of the action.

       This the 15th day of May, 2015.

                                          BROWN, READDICK, BUMGARTNER,
                                          CARTER, STRICKLAND & WATKINS, LLP

                                          /s/ John Bumgartner
                                          John E. Bumgartner, Esq.
                                          Georgia Bar No: 094600

                                          /s/ Paul M. Scott
                                          Paul M. Scott
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P. O. Box 220
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(912) 264-8544
(912) 264-9667                            Attorneys for Defendants

                                            -4-
           Case
            Case7:15-cv-00082-HL
                 7:15-tc-05000 Document
                                 Document
                                        28 1 Filed
                                              Filed05/15/15
                                                    05/15/15 Page
                                                              Page5 5ofof5 5




                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served all parties in this case in accordance with

the directives from the Court Notice of Electronic Filing (“NEF”), which was generated as

a result of electronic filing. This is also to certify that I have this day served all parties with

a copy of the foregoing pleading, by depositing same in the United States mail with

adequate postage thereon to assure delivery to:

                                   J. H. Craig Stafford, Esq.
                                    Jeffrey L. Arnold, Esq.
                                      Arnold & Stafford,
                                          P.O. Box 339
                                      Hinesville, GA 31310


       This the 15th day of May, 2015.

                                             /s/ Paul M. Scott
                                             Paul M. Scott
                                             Georgia Bar Number: 140960
